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 7                             UNITED STATES DISTRICT COURT
 8                            CENTRAL DISTRICT OF CALIFORNIA

 9

10    LAURIE A. HANNA, derivatively on
      behalf of FISKER INC.,
11
                                                    Case No.:
12                           Plaintiff,

13           v.
14                                                      DEMAND FOR JURY TRIAL
      HENRIK FISKER, GEETA GUPTA-
15    FISKER, JOHN FINNUCAN, WENDY
16    J. GREUEL, MARK E. HICKSON,
      WILLIAM R. MCDERMOTT,
17    RODERICK K. RANDALL, NADINE L.
18    WATT, and MITCHELL ZUKLIE,                        VERIFIED SHAREHOLDER
                                                        DERIVATIVE COMPLAINT
19                           Defendants,
20
             and
21

22    FISKER INC.,
23                           Nominal Defendant.
24

25

26

27

28

                               Verified Shareholder Derivative Complaint
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 1
                                          INTRODUCTION
 2
           Plaintiff Laurie A. Hanna (“Plaintiff”), by Plaintiff’s undersigned attorneys,
 3
     derivatively and on behalf of nominal defendant Fisker Inc. (“Fisker” or the “Company”),
 4
     files this Verified Shareholder Derivative Complaint against defendants Henrik Fisker (“H.
 5
     Fisker”), Geeta Gupta-Fisker (“Gupta-Fisker”), John Finnucan (“Finnucan”), Wendy J.
 6
     Greuel (“Greuel”), Mark E. Hickson (“Hickson”), William R. McDermott (“McDermott”),
 7
     Roderick K. Randall (“Randall”), Nadine I. Watt (“Watt”), and Mitchell Zuklie (“Zuklie”)
 8
     (collectively, the “Individual Defendants,” and together with Fisker, “Defendants”) for
 9
     breaches of their fiduciary duties as directors and/or officers of Fisker, unjust enrichment,
10
     abuse of control, gross mismanagement, waste of corporate assets, and violations of Section
11
     14(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and against Defendants
12
     H. Fisker, Gupta-Fisker, and Finnucan for contribution under Sections 10(b) and 21D of the
13
     Exchange Act. As for Plaintiff’s complaint against the Individual Defendants, Plaintiff
14
     alleges the following based upon personal knowledge as to Plaintiff and Plaintiff’s own
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     acts, and information and belief as to all other matters, based upon, inter alia, the
16
     investigation conducted by and through Plaintiff’s attorneys, which included, among other
17
     things, a review of the Defendants’ public documents, conference calls and announcements
18
     made by Defendants, United States Securities and Exchange Commission (“SEC”) filings,
19
     wire and press releases published by and regarding Fisker, legal filings, news reports,
20
     securities analysts’ reports and advisories about the Company, and information readily
21
     obtainable on the Internet. Plaintiff believes that substantial evidentiary support will exist
22
     for the allegations set forth herein after a reasonable opportunity for discovery.
23
                                       NATURE OF THE ACTION
24
           1.     This is a shareholder derivative action that seeks to remedy wrongdoing
25
     committed by the Individual Defendants from August 3, 2023 through November 20, 2023,
26
     inclusive (the “Relevant Period”).
27
           2.     Fisker is an electric vehicle company founded by H. Fisker and Gupta-Fisker
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 1
     in 2016. The Company is the successor to Fisker Automotive—an automotive company
 2
     founded by H. Fisker and Bernhard Koehler—which filed for bankruptcy in 2014. In
 3
     October 2020, Fisker went public through a reverse merger with a special purpose
 4
     acquisition company (“SPAC”) known as Spartan Energy Acquisition Corp. Fisker has one
 5
     electric vehicle model currently launched, the Fisker Ocean (the “Ocean”), which was
 6
     released in the United States in June 2023.
 7
           3.     On August 4, 2023, Fisker issued a press release announcing its financial
 8
     results for the second quarter of 2023. Among other things, the press release represented to
 9
     investors that “Fisker expects to produce 20,000-23,000 units in 2023[.]” Moreover, the
10
     press release represented that Fisker had increased the assembly rate for its production of
11
     the Oceans “from 80 per day at the end of June” to “140 [per day] at the end of July[.]”
12
     However, these statements were false and misleading, as they failed to disclose, inter alia,
13
     that the Company’s infrastructure was limiting its ability to deliver its production.
14
           4.     The truth began to emerge on November 8, 2023 when, before the market
15
     opened, Fisker announced that it would not be able to timely complete its financial
16
     statements due to the departure of its chief accounting officer (“CAO”) and the subsequent
17
     appointment of a new CAO. The Company stated that it “expects to file its Form 10-Q by
18
     November 14, 2023.” Prior to November 8, 2023, the Company had revealed that its former
19
     CAO, Defendant Finnucan, provided notice of his intent to resign on September 19, 2023,
20
     effective October 27, 2023. Florus Beuting (“Beuting”) was then hired, effective as of
21
     November 6, 2023, as Fisker’s new CAO.
22
           5.     On this news, the Company’s stock price fell $0.38, or 8.7%, from a closing
23
     price of $4.37 per share on November 7, 2023 to close at $3.99 per share on November 8,
24
     2023, on unusually high trading volume.
25
           6.     Less than a week later, after the market closed on November 13, 2023, the
26
     Company published its financial results for the third quarter of 2023, wherein the Company
27
     reported: (1) a loss of $91.0 million and $0.27 loss per share; (2) $78.02 million in selling,
28
                                                   3
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 1
     general and administrative operating costs and expenses; and (3) $9.42 million for research
 2
     and development. Thus, in total, the Company reported $87.44 million for total operating
 3
     costs and expenses for the three months ended September 30, 2023. Moreover, Fisker cut
 4
     its production forecast for the year, explaining that, although 4,725 Oceans were built during
 5
     the third quarter, only 1,097 were delivered to customers.
 6
           7.     Additionally, Fisker announced that it would be unable to timely file the
 7
     Company’s quarterly report on Form 10-Q with the SEC for the quarter ended September
 8
     30, 2023. Fisker revealed that, in preparing its results, it had determined “it has material
 9
     weaknesses” in “internal control over financial reporting.”
10
           8.     The same day, Fisker hosted an earnings call with analysts and investors.
11
     During the call, Defendants revealed that the delay in reporting was caused by Fisker having
12
     a “highly complex quarter” including “very complex accounting along with convertible
13
     notes and accounting for derivative” and “things like raw material inventory accounting and
14
     finished goods inventory accounting[.]” Fisker further disclosed that “delivery and the
15
     service infrastructure” was limiting deliveries and that, as a result, Fisker was “in the
16
     process of dramatically overhauling our service and delivery infrastructure.”
17
           9.     On this news, the Company’s share price fell $0.77, or 18.7%, from a closing
18
     price of $4.11 per share on November 13, 2023 to close at $3.34 per share on November
19
     14, 2023, on unusually heavy trading volume.
20
           10.    The truth fully emerged on November 20, 2023 when, after the market closed,
21
     Fisker revealed to the investing public that recently-appointed CAO Beuting had provided
22
     the Company with notice of his intent to resign from the Company on November 14, 2023—
23
     a mere 8 days after his appointment—effective immediately.
24
           11.    On this news, the Company’s share price fell $0.35, or 15%, from a closing
25
     price of $2.35 per share on November 20, 2023 to close at $2.00 per share on November
26
     21, 2023, on remarkably heavy trading volume.
27
           12.    Later, on November 22, 2023, the Company filed its Form 10-Q quarterly
28
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 1
     report with the SEC for the period ended September 30, 2023, which revealed that Fisker
 2
     had “identified approximately $20 million of expenses” which were “incorrectly recorded
 3
     primarily as selling, general and administrative expenses in our preliminary earnings results,
 4
     but were later determined to be associated with production set-up activities” and that “other
 5
     inventory adjustments were recorded resulting in a $4.0 million increase in net loss
 6
     subsequent to the preliminary earnings results.”
 7
           13.    During the Relevant Period, the Individual Defendants breached their fiduciary
 8
     duties to the Company by personally making and/or causing the Company to make to the
 9
     investing public a series of materially false and misleading statements regarding the
10
     Company’s business, operations, and prospects. Specifically, the Individual Defendants
11
     willfully or recklessly made and/or caused the Company to make false and misleading
12
     statements that failed to disclose, inter alia, that: (1) the Company had a material weakness
13
     in its internal control over financial reporting; (2) the Company had incorrectly accounted
14
     for certain costs; (3) due to the foregoing, Fisker was likely to delay filing its quarterly
15
     report; (4) the Company’s infrastructure was limiting its ability to deliver its production;
16
     and (5) the Company failed to maintain internal controls. As a result of the foregoing,
17
     Defendants’ positive statements about the Company’s business, operations, and prospects
18
     were materially misleading and/or lacked a reasonable basis at all relevant times.
19
           14.    Additionally, in breach of their fiduciary duties, the Individual Defendants
20
     caused the Company to fail to maintain adequate internal controls.
21
           15.    In light of the Individual Defendants’ misconduct—which has subjected the
22
     Company, its Chief Executive Officer (“CEO”), its Chief Financial Officer (“CFO”), and
23
     its former CAO, to a federal securities fraud class action lawsuit pending in the United
24
     States District Court for the Central District of California (the “Securities Class Action”)
25
     and which has further subjected the Company to the need to undertake internal
26
     investigations, the need to implement adequate internal controls, losses from the waste of
27
     corporate assets, and losses due to the unjust enrichment of the Individual Defendants who
28
                                                   5
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 1
     were improperly overcompensated by the Company and/or who benefitted from the
 2
     wrongdoing alleged herein—the Company will have to expend many millions of dollars.
 3
           16.    The Company has been substantially damaged as a result of the Individual
 4
     Defendants’ knowing or highly reckless breaches of fiduciary duty and other misconduct.
 5
           17.    In light of the breaches of fiduciary duty engaged in by the Individual
 6
     Defendants, most of whom are the Company’s current directors, of the substantial
 7
     likelihood of the directors’ liability in this derivative action, of the CEO’s, CFO’s, and
 8
     former CAO’s liability in the Securities Class Action, and of their not being disinterested
 9
     and/or independent directors, a majority of the Company’s Board of Directors (the “Board”)
10
     cannot consider a demand to commence litigation against themselves on behalf of the
11
     Company with the requisite level of disinterestedness and independence.
12
                                  JURISDICTION AND VENUE
13
           18.    This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because
14
     Plaintiff’s claims raise a federal question under Section 14(a) of the Exchange Act (15
15
     U.S.C. § 78n(a)(1)), Rule 14a-9 of the Exchange Act (17 C.F.R. § 240.14a-9), Section 10(b)
16
     of the Exchange Act (15. U.S.C. § 78j(b)) and Section 21D of the Exchange Act (15 U.S.C.
17
     § 78u-4(f)). Plaintiff’s claims also raise a federal question pertaining to the claims made in
18
     the Securities Class Action based on violations of the Exchange Act.
19
           19.    This Court has supplemental jurisdiction over Plaintiff’s state law claims
20
     pursuant to 28 U.S.C. § 1367(a).
21
           20.    This derivative action is not a collusive action to confer jurisdiction on a court
22
     of the United States that it would not otherwise have.
23
           21.    Venue is proper in this District because the alleged misstatements and wrongs
24
     complained of herein entered this District, the Defendants have conducted business in this
25
     District, and Defendants’ actions have had an effect in this District.
26
                                              PARTIES
27
           Plaintiff
28
                                                   6
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 1
           22.      Plaintiff is a current shareholder of Fisker. Plaintiff has continuously held
 2
     Fisker common stock since before the beginning of the Relevant Period.
 3
           Nominal Defendant Fisker
 4
           23.      Fisker is a Delaware corporation with principal executive offices at 1888
 5
     Rosecrans Avenue, Manhattan Beach, CA 90266. Fisker’s common stock trades on the New
 6
     York Stock Exchange (“NYSE”) under the ticker symbol “FSR.”
 7
           Defendant H. Fisker
 8
           24.      Defendant H. Fisker cofounded the Company and has served as the Company’s
 9
     CEO and Chairman of its Board since the Company’s inception in 2016. According to the
10
     proxy statement the Company filed with the SEC on August 3, 2023 (the “2023 Proxy
11
     Statement”), as of June 28, 2023, Defendant H. Fisker beneficially owned approximately
12
     81,867,237 shares of the Company’s common stock, representing 43.7% of total voting
13
     power and 22.9% of total ownership. Given that the price per share of the Company’s
14
     common stock at the close of trading on June 28, 2023 was $5.23, Defendant H. Fisker
15
     owned approximately $428.2 million worth of Fisker stock.
16
           25.      For the fiscal year ended December 31, 2022 (the “2022 Fiscal Year”),
17
     Defendant H. Fisker received $783,255 in total compensation from the Company. This
18
     included $62,400 in salary, $710,000 in bonus, and $10,855 in all other compensation.
19
           26.      The Schedule 14A the Company filed with the SEC on April 27, 2023 (the
20
     “April 2023 Proxy Statement”) stated the following about Defendant Fisker:
21
                 Henrik Fisker has served as Chairman of the board of directors and as our
22               Chief Executive Officer since October 2020 and prior to this, served as
23               Chief Executive Officer of Legacy Fisker since September 2016 and as
                 President since October 2020, and he is married to Dr. Geeta Gupta-Fisker,
24               his co-founder and our Chief Financial Officer, Chief Operating Officer and
25               a member of our board of directors. Although Mr. Fisker spends significant
                 time with Fisker and is highly active in our management, he does not devote
26               his full time and attention to Fisker. Since 2013, Mr. Fisker has served as
27               Managing Member of HF Design LLC, or HF Design. Mr. Fisker served as
                 a Senior Advisor at McKinsey & Company where he worked from 2013 to
28
                                                    7
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 1                  2016. In addition, from 2015 to 2017, he served as the Chief of Product and
 2                  Design of VLF Automotive, LLC, which he co-founded. From 2007 to
                    2011, Mr. Fisker served as Chief Executive Officer and Chief Design
 3                  Officer of Fisker Automotive, Inc., which he co-founded, and he served as
 4                  Executive Chairman from 2012 to 2013. In 2013, Fisker Automotive, Inc.
                    voluntarily filed for Chapter 11 bankruptcy with the United States
 5                  Bankruptcy Court for the District of Delaware after Mr. Fisker had stepped
 6                  down as its Executive Chairman. Prior to that, from 2000 to 2005, Mr.
                    Fisker served as Creative Director at Ford Motor Company and Design
 7                  Director at Aston Martin Lagonda Ltd, which was a subsidiary of Ford
 8                  Motor Company at the time. He was also the Designer at Bayerische
                    Flugzeugwerke AG, or BMW, from 1999 to 2000. Mr. Fisker holds a
 9                  Bachelor of Science in Automotive Design from the ArtCentre College of
10                  Design, California. We believe that Mr. Fisker is qualified to serve as a
                    director because of his operational and historical expertise gained from
11                  serving as our Chief Executive Officer, and his extensive professional and
12                  educational experience in the automotive industry.

13            Defendant Gupta-Fisker
14            27.      Defendant Gupta-Fisker has served as the Company’s CFO and as a Company
15   director since October 2020, and as the Company’s Chief Operating Officer (“COO”) since
16   March 2021. According to the 2023 Proxy Statement, as of June 28, 2023, Defendant Gupta-
17   Fisker beneficially owned approximately 81,867,237 shares of the Company’s common
18   stock, representing 43.7% of total voting power and 22.9% of total ownership. Given that
19   the price per share of the Company’s common stock at the close of trading on June 28, 2023
20   was $5.23, Defendant Gupta-Fisker owned approximately $428.2 million worth of Fisker
21   stock.
22            28.      For the 2022 Fiscal Year, Gupta-Fisker received $778,585 in total
23   compensation from the Company. This included $62,400 in salary, $710,000 in bonus, and
24   $6,185 in all other compensation.
25            29.      The April 2023 Proxy Statement stated the following about Defendant Gupta-
26   Fisker:
27            Dr. Geeta Gupta-Fisker has served as our Chief Financial Officer and as a
28            member of the board of directors since October 2020 and as Chief Operating
                                                       8
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 1         Officer since March 2021. Prior to this, Dr. Gupta-Fisker served as a director
 2         and Chief Financial Officer of Legacy Fisker since September 2016, and she
           is married to Henrik Fisker, her co-founder and our Chief Executive Officer
 3         and Chairman of our board of directors. Prior to founding Fisker, Dr. Gupta-
 4         Fisker served as an Entrepreneur and Investment Manager for the Fisker family
           from 2014 to 2020. Previously, Dr. Gupta-Fisker served as an Investment
 5         Advisor at the Alfred Mann Foundation from 2013 to 2014. Dr. Gupta-Fisker
 6         holds a Bachelor’s Degree in Zoology/Animal Biology from Maitrey College,
           New Delhi, India, a Master’s Degree in Biotechnology from the University of
 7         Kent, United Kingdom, a Doctor of Philosophy, Ph.D., in
 8         Biotechnology/Organic Chemistry from the University of Cambridge, United
           Kingdom, where she was an EPSRC Postdoctoral Research Newton Fellow.
 9         We believe that Dr. Gupta-Fisker is qualified to serve as a director because of
10         her historical expertise gained from serving as our Chief Financial Officer,
           Chief Operating Officer and her financial and investing experience.
11
          Defendant Finnucan
12
           30.       Defendant Finnucan served as the Company’s CAO from October 2020 until
13
     he resigned in October 2023. According to the 2023 Proxy Statement, as of June 28, 2023,
14
     Defendant Finnucan beneficially owned 57,631 shares of the Company’s common stock.
15
     Given that the price per share of the Company’s common stock at the close of trading on
16
     June 28, 2023 was $5.23, Defendant Finnucan owned approximately $301,410 worth of
17
     Fisker stock.
18
           31.       For the 2022 Fiscal Year, Defendant Finnucan received $436,661 in total
19
     compensation from the Company. This included $325,000 in salary, $97,490 in stock
20
     awards, and $14,171 in all other compensation.
21
           32.       The April 2023 Proxy Statement stated the following about Defendant
22
     Finnucan:
23
            John C. Finnucan IV has served as our Chief Accounting Officer since
24
            October 2020. Previously, Mr. Finnucan served as a Partner in the Americas
25          Professional Practice, Auditing at Ernst & Young LLP from July 2019
            to October 2020. Mr. Finnucan joined Ernst & Young LLP ("EY") in 1994 as
26
            a Staff and Senior Accountant and he served in various leadership positions
27          of increasing responsibility culminating in his role as Partner in the
            Americas Professional Practice, Auditing, including EY’s Global
28
                                                  9
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 1           professional practice, capital markets center (Tokyo, Japan) from November
 2           2003 through June 2010; he served as Co-Market Leader at EY’s West
             Region, Financial Accounting Advisory Services from July 2010 to
 3           December 2011; and from May 2016 to June 2019, he served in EY’s
 4           Americas Professional Practice, Quality & Regulatory Matters. Mr. Finnucan
             holds a Bachelor of Science degree in accounting from The University of
 5           Akron, Ohio.
 6          Defendant Greuel
 7          33.    Defendant Greuel has served as a Company director since October 2020. She
 8    also serves as Chair of the Audit Committee. According to the 2023 Proxy Statement, as of
 9    June 28, 2023, Defendant Greuel beneficially owned approximately 98,389 shares of the
10    Company’s common stock. Given that the price per share of the Company’s common stock
11    at the close of trading on June 28, 2023 was $5.23, Defendant Greuel owned approximately
12    $514,575 worth of Fisker stock.
13          34.   For the 2022 Fiscal Year, Defendant Greuel received $257,028 in total
14    compensation from the Company. This included $25,000 in fees earned or paid in cash and
15    $232,028 in awards.
16          35.   The April 2023 Proxy Statement stated the following about Defendant Greuel:
17
            Wendy J. Greuel has served on our board of directors since October 2020 and
18          prior to this, served as a director of Legacy Fisker since June 2020. Since 2013,
19          Ms. Greuel has served as a consultant to the Discovery Cube Science Center.
            In addition, Ms. Greuel has served as Executive in Residence and Strategic
20          Advisor at the David Nazarian College of Business and Economics (DNCBE),
21          California State University Northridge (CSUN), since 2016. Previously, Ms.
            Greuel served as the Controller for the City of Los Angeles from 2009 to 2013.
22          Ms. Greuel holds a Bachelor of Arts in Political Science from the University
23          of California, Los Angeles. We believe that Ms. Greuel’s extensive executive
            and professional experience as a business consultant qualify her to serve as a
24          director.
25          Defendant Hickson
26          36.   Defendant Hickson has served as a Company director since October 2020. He
27    also serves as a member of the Audit Committee and the Nominating and Corporate
28
                                                   10
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 1
      Governance Committee. According to the 2023 Proxy Statement, as of June 28, 2023,
 2
      Defendant Hickson beneficially owned 139,211 shares of the Company’s common stock.
 3
      Given that the price per share of the Company’s common stock at the close of trading on
 4
      June 28, 2023 was $5.23, Defendant Hickson owned approximately $728,074 worth of
 5
      Fisker stock.
 6
            37.       For the 2022 Fiscal Year, Hickson received $247,028 in total compensation
 7
      from the Company. This included $15,000 in fees earned or paid in cash and $232,028 in
 8
      awards.
 9
            38.       The April 2023 Proxy Statement stated the following about Defendant
10
      Hickson:
11
12          Mark E. Hickson has served on our board of directors since October 2020 and
            prior to this, served as a director of Legacy Fisker since July 2020. Since 2012,
13          Mr. Hickson has served as the Executive Vice President of Corporate
14          Development, Strategy, Quality & Integration at NextEra Energy, Inc., a public
            company. Mr. Hickson also serves as the Executive Vice President of
15          Corporate Development, Strategy, Quality & Integration at NextEra Energy
16          Partners, LP, an affiliate of NextEra Energy, Inc., and Mr. Hickson serves on
            its board of directors. Previously, Mr. Hickson served as a Managing Director
17          of Global M&A in the Global Energy & Power Group at Merrill Lynch & Co.
18          Mr. Hickson holds a Bachelor of Science in Aerospace Engineering from
            Texas A&M University, and a Master of Business Administration, Finance
19          from Columbia University, New York. We believe that Mr. Hickson’s
20          extensive executive and professional experience in the energy industry qualify
            him to serve as a director.
21
            Defendant McDermott
22
            39.       Defendant McDermott has served as a Company director since October 2020.
23
      He also serves as Lead Independent Director and as a member of the Audit Committee.
24
      According to the 2023 Proxy Statement, as of June 28, 2023, Defendant McDermott
25
      beneficially owned approximately 104,821 shares of the Company’s common stock. Given
26
      that the price per share of the Company’s common stock at the close of trading on January
27
28
                                                   11
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 1
      23, 2023 was $5.51, Defendant McDermott owned approximately $312 million worth of
 2
      Fisker stock.
 3
            40.       For the 2022 Fiscal Year, Defendant McDermott received $267,028 in total
 4
      compensation from the Company. This included $35,000 in fees earned or paid in cash and
 5
      $232,028 in awards.
 6
            41.       The April 2023 Proxy Statement stated the following about Defendant
 7
      McDermott:
 8
 9          William R. McDermott has served as a member of the board of directors since
            October 2020 and prior to this, served as a director of Legacy Fisker since
10          October 2020. Previously, Mr. McDermott has served as the Chief Executive
11          Officer of ServiceNow, Inc., a public digital workflow company, since
            November 2019. From 2010 through 2014, Mr. McDermott served as Co-
12          Chief Executive Officer, and from 2014 until October 2019, as sole
13          Chief Executive Officer, of SAP SE, or SAP, a multinational software
            company providing enterprise software. Mr. McDermott joined SAP in 2002
14          as Chief Executive Officer of SAP America, Inc., and served on the
15          SAP Executive Board from 2008 until October 2019. Prior to joining SAP,
            Mr. McDermott served as Executive Vice President of Worldwide Sales and
16          Operations at Siebel CRM Systems, Inc. from 2001 to 2002 and served as
17          President of Gartner, Inc. from 2000 to 2001. Mr. McDermott also serves as a
            member of the board of directors of ServiceNow, Inc. and Zoom Video
18          Communications, Inc. Mr. McDermott holds a Bachelor’s Degree from
19          Dowling College, New York, a Master of Business Administration from
            Northwestern University’s Kellogg School of Management and participated in
20          the Executive Development Program of the Wharton School, University of
21          Pennsylvania. We believe Mr. McDermott is qualified to serve as a director
            because of his extensive executive experience in the technology industry,
22          including his leadership experience with a leading global business, as Chief
23          Executive Officer, and his service on a number of public company boards
            which provides an important perspective on operations, finance and corporate
24          governance.
25          Defendant Randall
26          42.       Defendant Randall has served as a Company director since October 2020. He
27    is also a member of the Compensation Committee. According to the 2023 Proxy Statement,
28
                                                   12
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 1
      as of June 28, 2023, Defendant Randall beneficially owned 2,473,138 shares of the
 2
      Company’s common stock. Given that the price per share of the Company’s common stock
 3
      at the close of trading on June 28, 2023, was $5.23, Defendant Randall owned
 4
      approximately $12.9 million worth of Fisker stock.
 5
            43.   For the 2022 Fiscal Year, Defendant Randall received $239,528 in total
 6
      compensation from the Company. This included $7,500 in fees earned or paid in cash and
 7
      232,028 in awards.
 8
            44.   The April 2023 Proxy Statement stated the following about Defendant Randall:
 9
            Roderick K. Randall has served on our board of directors since October 2020
10          and prior to this, served as a director of Legacy Fisker since March 2018. Since
11          2010, Mr. Randall has been an Executive Partner at Siris Capital Group, LLC,
            a private equity firm focused on taking private public technology companies
12          and spinouts of major corporations. Mr. Randall currently serves on the boards
13          of the following private companies: MagLev Aero, Inc., and Mavenir Systems,
            Inc. He is also a member of the board of Trustees at Vaughn College of
14          Aeronautics and Technology, a private college in East Elmhurst, New York,
15          specializing in aviation and engineering education. Mr. Randall holds a
            Bachelor of Electrical Engineering with Highest Honor from The Georgia
16
            Institute of Technology, and a Master of Sciences in Electrical Engineering
17          and Computer Science from the University of California, Berkeley. We believe
            that Mr. Randall is qualified to serve as a director because of his extensive
18
            experience in the technology industry, his experience as a venture capitalist
19          and his service on multiple boards of various technology companies.
20          Defendant Watt
21          45.   Defendant Watt has served as a Company director since October 2020. She
22    also serves as Chair of the Compensation Committee. According to the 2023 Proxy
23    Statement, as of June 28, 2023, Defendant Watt beneficially owned 457,030 shares of the
24    Company’s common stock. Given that the price per share of the Company’s common stock
25    at the close of trading on June 28, 2023 was $5.23, Defendant Watt owned approximately
26    $2.3 million worth of Fisker stock.
27          46.   For the 2022 Fiscal Year, Defendant Watt received $250,028 in total
28    compensation from the Company. This included $18,000 in fees earned or paid in cash and
                                                  13
                             Verified Shareholder Derivative Complaint
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 1
      $232,028 in awards.
 2
            47.   The April 2023 Proxy Statement stated the following about Defendant Watt:
 3
 4          Nadine I. Watt has served on our board of directors since October 2020 and
            prior to this, served as a director of Legacy Fisker since June 2020. Ms. Watt
 5          has served as the Chief Executive Officer of Watt Companies, Inc.
 6          since December 2019 and as the Chief Executive Officer of Watt Capital
            Partners since June 2022. She previously served as President from 2011 to
 7          2019. She joined Watt Companies, Inc. in 2000 as an asset and project manager
 8          and she has served in various positions of increasing responsibility culminating
            in her current role as Chief Executive Officer. In addition, Ms. Watt has served
 9          as the Chair of the Los Angeles Business Council since 2015. She previously
10          served on the board of two publicly traded companies: 1st Century
            Bancshares, Inc., from May 2008 until 2017 and The New Home Company
11          Inc., from 2009 to 2018. Ms. Watt received her Bachelor of Science in Foreign
12          Service from the Georgetown University School of Foreign Service,
            Washington D.C. and her Master of Arts from the School of Cinematic Arts at
13          the University of Southern California. We believe that Ms. Watt is qualified to
14          serve as a director because of her extensive experience in management and her
            prior service on a number of public company boards, which provides an
15          important perspective on operations and corporate governance matters.
16          Defendant Zuklie
17          48.   Defendant Zuklie has served as a Company director since March 2021. He also
18    serves as Chair of the Nominating and Corporate Governance Committee. According to the
19    2023 Proxy Statement, as of June 28, 2023, Defendant Zuklie beneficially owned 146,011
20    shares of the Company’s common stock. Given that the price per share of the Company’s
21    common stock at the close of trading on June 28, 2023 was $5.23, Defendant Zuklie owned
22    approximately $763,638 worth of Fisker stock.
23          49.   For the 2022 Fiscal Year, Defendant Zuklie received $242,028 in total
24    compensation from the Company. This included $10,000 in fees earned or paid in cash and
25    $232,028 in awards.
26          50.   The April 2023 Proxy Statement stated the following about Defendant Zuklie:
27
            Mitchell S. Zuklie has served as Chairman and Chief Executive Officer of
28
                                                  14
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 1          Orrick, Herrington & Sutcliffe LLP since 2012 where he is a partner. As a
 2          corporate lawyer with approximately 25 years of experience representing
            public and private companies with structuring, negotiating and managing
 3          sophisticated securities and corporate transactional matters, he has extensive
 4          experience with federal and state securities laws, public debt and equity
            financings, mergers and acquisitions, corporate venture transactions, joint
 5          ventures and strategic alliances, emerging company formation and
 6          management, and corporate governance matters. He serves on the Boards of
            the Leadership Council for Legal Diversity and the Berkeley Center for Law
 7          and Business and the Advisory Boards of the Stanford Law School Center on
 8          the Legal Profession and the Harvard Law School Center on the Legal
            Profession. He is also a member of the Board of the Wild Salmon Center. Mr.
 9          Zuklie holds a Juris Doctorate from the University of California, Berkeley
10          School of Law, and a Bachelor of Arts degree from Bowdoin College. We
            believe Mr. Zuklie’s legal and business background including his management
11          experience, qualify him to serve on our board of directors.
12
                  FIDUCIARY DUTIES OF THE INDIVIDUAL DEFENDANTS
13
            51.    By reason of their positions as officers, directors, and/or fiduciaries of Fisker
14
      and because of their ability to control the business and corporate affairs of Fisker, the
15
      Individual Defendants owed Fisker and its shareholders fiduciary obligations of trust,
16
      loyalty, good faith, and due care, and were and are required to use their utmost ability to
17
      control and manage Fisker in a fair, just, honest, and equitable manner. The Individual
18
      Defendants were and are required to act in furtherance of the best interests of Fisker and its
19
      shareholders so as to benefit all shareholders equally.
20
            52.    Each director and officer of the Company owes to Fisker and its shareholders
21
      the fiduciary duty to exercise good faith and diligence in the administration of the Company
22
      and in the use and preservation of its property and assets and the highest obligations of fair
23
      dealing.
24
            53.    The Individual Defendants, because of their positions of control and authority
25
      as directors and/or officers of Fisker, were able to and did, directly and/or indirectly,
26
      exercise control over the wrongful acts complained of herein.
27
            54.    To discharge their duties, the officers and directors of Fisker were required to
28
                                                   15
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 1
      exercise reasonable and prudent supervision over the management, policies, controls, and
 2
      operations of the Company.
 3
               55.   Each Individual Defendant, by virtue of their position as a director and/or
 4
      officer, owed to the Company and to its shareholders the highest fiduciary duties of loyalty,
 5
      good faith, and the exercise of due care and diligence in the management and administration
 6
      of the affairs of the Company, as well as in the use and preservation of its property and
 7
      assets. The conduct of the Individual Defendants complained of herein involves a knowing
 8
      and culpable violation of their obligations as directors and officers of Fisker, the absence of
 9
      good faith on their part, or a reckless disregard for their duties to the Company and its
10
      shareholders that the Individual Defendants were aware or should have been aware posed a
11
      risk of serious injury to the Company. The conduct of the Individual Defendants who were
12
      also officers and directors of the Company has been ratified by the remaining Individual
13
      Defendants who collectively comprised a majority of the Company’s Board at all relevant
14
      times.
15
               56.   As senior executive officers and/or directors of a publicly-traded company
16
      whose common stock was registered with the SEC pursuant to the Exchange Act and traded
17
      on the NYSE, the Individual Defendants had a duty to prevent and not to effect the
18
      dissemination of inaccurate and untruthful information with respect to the Company’s
19
      financial condition, performance, growth, operations, financial statements, business,
20
      products, management, earnings, internal controls, and present and future business
21
      prospects, including the dissemination of false information regarding the Company’s
22
      business, prospects, and operations, and had a duty to cause the Company to disclose in its
23
      regulatory filings with the SEC all those facts described in this complaint that it failed to
24
      disclose, so that the market price of the Company’s common stock would be based upon
25
      truthful and accurate information. Further, they had a duty to ensure the Company remained
26
      in compliance with all applicable laws.
27
               57.   To discharge their duties, the officers and directors of the Company were
28
                                                    16
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 1
      required to exercise reasonable and prudent supervision over the management, policies,
 2
      practices, and internal controls of the Company. By virtue of such duties, the officers and
 3
      directors of Fisker were required to, among other things:
 4
                   (a)   ensure that the Company was operated in a diligent, honest, and prudent
 5
      manner in accordance with the laws and regulations of Delaware, California, and the United
 6
      States, and pursuant to Fisker’s corporate governance and applicable codes of conduct
 7
      and/or ethics;
 8
                   (b)   conduct the affairs of the Company in an efficient, business-like manner
 9
      so as to make it possible to provide the highest quality performance of its business, to avoid
10
      wasting the Company’s assets, and to maximize the value of the Company’s stock;
11
                   (c)   remain informed as to how Fisker conducted its operations, and, upon
12
      receipt of notice or information of imprudent or unsound conditions or practices, to make
13
      reasonable inquiry in connection therewith, and to take steps to correct such conditions or
14
      practices;
15
                   (d)   establish and maintain systematic and accurate records and reports of
16
      the business and internal affairs of Fisker and procedures for the reporting of the business
17
      and internal affairs to the Board and to periodically investigate, or cause independent
18
      investigation to be made of, said reports and records;
19
                   (e)   maintain and implement an adequate and functioning system of internal
20
      legal, financial, and management controls, such that Fisker’s operations would comply with
21
      all applicable laws and Fisker’s financial statements and regulatory filings filed with the
22
      SEC and disseminated to the public and the Company’s shareholders would be accurate;
23
                   (f)   exercise reasonable control and supervision over the public statements
24
      made by the Company’s officers and employees and any other reports or information that
25
      the Company was required by law to disseminate;
26
                   (g)   refrain from unduly benefiting themselves and other Company insiders
27
      at the expense of the Company; and
28
                                                   17
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 1
                   (h)    examine and evaluate any reports of examinations, audits, or other
 2
      financial information concerning the financial affairs of the Company and to make full and
 3
      accurate disclosure of all material facts concerning, inter alia, each of the subjects and
 4
      duties set forth above.
 5
            58.    Each of the Individual Defendants further owed to Fisker and the shareholders
 6
      the duty of loyalty requiring that each favor Fisker’s interest and that of its shareholders
 7
      over their own while conducting the affairs of the Company and refrain from using their
 8
      position, influence or knowledge of the affairs of the Company to gain personal advantage.
 9
            59.    At all times relevant hereto, the Individual Defendants were the agents of each
10
      other and of Fisker and were at all times acting within the course and scope of such agency.
11
            60.    Because of their advisory, executive, managerial, directorial, and controlling
12
      positions with Fisker, each of the Individual Defendants had access to adverse, nonpublic
13
      information about the Company.
14
            61.    The Individual Defendants, because of their positions of control and authority,
15
      were able to and did, directly or indirectly, exercise control over the wrongful acts
16
      complained of herein, as well as the contents of the various public statements issued by
17
      Fisker.
18
                FISKER’S CODE OF ETHICS AND CORPORATE GOVERNANCE
19
            Fisker’s Code of Business Conduct and Ethics
20
            62.     Under the heading “Conflicts of Interest,” the Company represented that it
21
      adopted the Code of Business and Ethics (the “Code of Conduct”) to set expectations and
22
      provide guidance applicable to all members of the Company’s Board of Directors and
23
      officers, employees, independent contractors and consultants of the Company (for purposes
24
      of the code, all such persons are “employees”). All employees are responsible for reading
25
      and understanding the Code of Conduct and using it as a guide to perform their
26
      responsibilities for the Company.
27
28
                                                   18
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 1
            63.    Under the heading “Legal Compliance,” the Code of Conduct makes clear that
 2
      all “employees must always obey the law” while conducting their duties. The Company
 3
      stated that “success depends upon each employee operating within legal guidelines and
 4
      cooperating with authorities.” Therefore “all employees must know and understand the legal
 5
      and regulatory requirements that apply to the Company’s business and to their specific area
 6
      of responsibility.”
 7
            64.    Under the heading “Conflicts of Interest,” the Code explains that “employees
 8
      are expected to avoid actual or apparent conflicts of interest between their personal and
 9
      professional relationships.”
10
            65.    Under the heading “Financial Integrity; Public Reporting,” the Code of
11
      Conduct states that the “Company strives to maintain integrity of the Company’s records
12
      and public disclosure.” It further explains that “the Company’s corporate and business
13
      records, including all supporting entries to the Company’s books of account, must be
14
      completed honestly, accurately and understandably . . . the Company depends on the books,
15
      records and accounts accurately and fairly reflecting, in reasonable detail, the Company’s
16
      assets, liabilities, revenues, costs and expenses, as well as all transactions and changes in
17
      assets and liabilities.” To help guarantee the truthfulness of the Company’s records and
18
      public disclosure, the Company requires that:
19       • “no entry be made in the Company’s books and records that is intentionally
20          false or misleading;

21       • transactions be supported by appropriate documentation;
22
         • the terms of sales and other commercial transactions be reflected accurately in
23         the documentation for those transactions and all such documentation be
24         reflected accurately in the Company’s books and records;
         • employees comply with the Company’s system of internal controls and be held
25         accountable for their entries;
26
         • any off-balance sheet arrangements of the Company are clearly and
27
           appropriately disclosed;
28
                                                   19
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 1       • employees work cooperatively with the Company’s independent auditors in
 2         their review of the Company’s financial statements and disclosure documents;
         • no cash or other assets be maintained for any purpose in any unrecorded or
 3         “off-the-books” fund; and
 4
         • records be retained or destroyed according to the Company’s document
 5         retention policies or procedures then in effect.”
 6          66.    Under the heading “Conduct of Senior Financial Employees,” the code states
 7    that the CEO, CFO, and Corporate Controller must “act with honesty and integrity and use
 8    due care and diligence in performing their responsibilities to the Company.”
 9          Fisker’s Audit Committee Charter
10          67.     The purpose of Fisker’s Audit Committee (the “Committee”) of the Board is
11    to:
12       (a) Assist the Board in overseeing: (1) the integrity of the Company’s financial
              statements; (2) the Company’s compliance with legal and regulatory
13            requirements; (3) the independent auditor’s qualifications and independence,
14            and (4) the performance of the Company’s internal audit function and
              independent auditors;
15        (b) provide such reports as may be required of an audit committee under the rules
16            and regulations promulgated under the Securities Exchange Act of 1934, as
              amended (the “Exchange Act”); and
17        (c) provide oversight with respect to ethical conduct and any related matters.”
18          68.    Under the heading “Authority and Responsibilities,” the Committee must
19    “oversee the principal risk exposures facing the Company and the Company’s mitigation
20    efforts in respect of such risks, including, but not limited to financial reporting risks, credit
21    and liquidity risks, and environmental and sustainability risks.” Furthermore, the
22    Committee is tasked with “review[ing] and discuss[ing] with the independent auditor and
23    management their periodic reviews of the adequacy of the Company’s accounting and
24    financial reporting processes and systems of internal control, including any significant
25    deficiencies and material weaknesses in their design or operation.”
26                        INDIVIDUAL DEFENDANTS’ MISCONDUCT
27
            Background
28
                                                     20
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 1
            69.    Founded in 2016 by husband-and-wife Defendants H. Fisker and Gupta-
 2
      Fisker, Fisker is an electric vehicle company focused on creating luxury plug-in-hybrid
 3
      electric vehicles. Although the Company created four car models (the Ocean, the PEAR,
 4
      the Alaska, and the Ronin), only the Ocean model, an all-electric SUV, is currently launched
 5
      and available for purchase on the market. The Ocean was released in the United States in
 6
      June 2023 and costs about $40,000. The Company’s other car models are exclusively
 7
      available for reservation.
 8
            70.    The Company went public through a reverse merger with a SPAC known as
 9
      Spartan Energy Acquisition Corp in October 2020.
10
            False and Misleading Statements
11
            2023 Proxy Statement
12
            71.    On August 3, 2023, Fisker filed the 2023 Proxy Statement with the SEC.
13
      Defendants H. Fisker, Gupta-Fisker, Greuel, Hickson, McDermott, Randall, Watt, and
14
      Zuklie solicited the 2023 Proxy Statement, filed pursuant to Section 14(a) of the Exchange
15
      Act, which contained false and misleading statements.
16
            72.    The 2023 Proxy Statement called for shareholder approval of, inter alia, the
17
      potential issuance of more than 19.99% of the outstanding shares of Class A Common Stock
18
      and the adoption of an amendment to the Second Amended and Restated Certificate of
19
      Incorporation.
20
            73.    The 2023 Proxy Statement was materially false and misleading because it
21
      failed to disclose, inter alia, that: (1) the Company had a material weakness in its internal
22
      control over financial reporting; (2) the Company had incorrectly accounted for certain
23
      costs; (3) due to the foregoing, Fisker was likely to delay filing its quarterly report; (4) the
24
      Company’s infrastructure was limiting its ability to deliver its production; and (5) the
25
      Company failed to maintain internal controls. As a result of the foregoing, Defendants’
26
      positive statements about the Company’s business, operations, and prospects were
27
      materially misleading and/or lacked a reasonable basis at all relevant times.
28
                                                    21
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 1
            August 4, 2023, Press Release
 2
            74.      On August 4, 2023, Fisker announced its second quarter financial results for
 3
      2023 in a press release, which stated, in relevant part, the following:
 4
            Second Quarter 2023 Financial Highlights
 5
               • Revenue totaled $825 thousand compared to revenue of $10 thousand in
 6               the second quarter of 2022.
 7
                  • Gross margin was 7.5% on a reported basis, and 18.5% excluding
 8                  discounted early-stage investor deliveries.
 9
                  • Loss from operations totaled $87.9 million, including $9.0 million of
10                  stock-based compensation expense.
11
                  • Net loss totaled $85.5 million and $0.25 loss per share. Weighted
12                  average shares outstanding totaled 335.9 million for the three months
13                  ended June 30, 2023.

14                • Net cash used in operating activities totaled $128.1 million and capital
15                  expenditures totaled 91.3 million.
16             • Cash and cash equivalents and restricted cash was $521.8 million as of
17               June 30, 2023; this excludes $300 million in gross proceeds from the
                 July convertible note offering and $33.4 million in VAT receivables
18               which we expect to receive as refunds or to monetize against vehicle
19               sales.
                                                 ***
20          2023 Business Outlook
21
                 Fisker expects to produce 20,000 – 23,000 units in 2023, provided
22               Fisker’s suppliers and partners can support this volume and ramp. The
23               following information reflects Fisker’s expectations for key non-GAAP
                 operating expenses and capital expenditures for full-year 2023. Fisker is
24               projecting the total of these items to be within a range of $565 million
25               to $640 million. Fisker anticipates an 8-12% gross margin range for full
                 year 2023, provided input costs do not change dramatically.
26
                                                   ***
27          Relevant Updates
28
                                                    22
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 1                  • 1,022 Fisker Ocean vehicles were produced in Q2 2023. A couple of
 2                    suppliers had challenges ramping to targeted Q2 levels, but the company
                      is intently focused on working with all suppliers to swiftly ramp. In July,
 3                    1,009 Fisker Oceans were produced up from 741 units in June while the
 4                    assembly rate per day reached 140 at the end of July, up from 80 per day
                      at the end of June. July had reduced shifts and fewer working days due
 5                    to the planned Magna Steyr annual summer shutdown.
 6
                    • Fisker updates 2023 production outlook to 20,000 – 23,000 units as a
 7                    key supplier required additional time to ramp their capacity to meet or
 8                    2H 2023 timeline.
 9                  • The Company began US and European deliveries of the Fisker Ocean
10                    One in California, Denmark, and Germany with customer deliveries
                      completed in 2Q partly due to a later start in the quarter, logistics
11                    optimization, and extra time required to accumulate appropriate
12                    quantities for efficient transport.
13            75.      On August 9, 2023, the Company filed its second quarter 2023 financial results
14    on Form 10-Q with the SEC (the “2Q2023 10-Q”) which stated the following, in relevant
15    part:
16            Recent Developments
17
              We achieved several key milestones in May, June, July, and August 2023,
18            including (i) the opening of customer facilities in Munich, London, Oslo and
19            Stockholm; (ii) the initiation of the production ramp up phase for the Fisker
              Ocean; (iii) the achievement by the Fisker Ocean Extreme with 20 inch wheels
20
              of an EPA estimated total range of 360 miles; (iv) the receipt by the Fisker
21            Ocean Extreme of both an EPA Certificate of Conformity and a California Air
              Resources Board Executive Order; (v) the commencement of deliveries of the
22
              limited edition Fisker Ocean One in Europe and the United States; (vi) the
23            production of 1,022 Fisker Oceans during the second quarter for customer
              deliveries, as well as units designated for engineering and marketing use;
24
              (vii) the production of 1,009 Fisker Oceans in July – reaching an assembly
25            rate of 140 vehicles per day at the end of month; (viii) the publishing of our
              inaugural Lifecycle Assessment report; (ix) the investment in additional
26
              battery pack capacity in July to support higher volumes next year; (x)
27            bolstering the balance sheet with a successful offering of $340 million in
              aggregate principal of 0% senior unsecured convertible notes due in 2025; (xi)
28
                                                       23
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 1          completing Fisker’s first large-scale media event with production vehicles in
 2          Vienna, Austria where two dozen media correspondents test drove Fisker
            Oceans; and (xii) revealing Fisker's future product lineup at the company's
 3          inaugural Product Vision Day.
 4                                                 ***
            As outlined earlier this year, our production forecasts are linked to supply chain
 5          readiness and receipt of multiple regulatory homologation approvals across our
 6          launch markets. The timing of these approvals shifted in the first half of this
            year, which impacted our 2023 volume forecasts and supplier ramp readiness.
 7          Based on our current supplier capacity expectations, we currently forecast we
 8          will produce 20,000 to 23,000 vehicles during 2023.

 9          76.       The 2Q2023 10-Q reported the following in regard to the Company’s revenues
10    and the cost of revenues:
11          In the second quarter of 2023, we began producing vehicles for deliveries to
12          our customers and, accordingly, we are recognizing vehicle revenues from the
            sale of initial Fisker Ocean SUV’s. Merchandise sales and home charging
13          solutions are not intended to compromise a significant portion of the
14          Company’s revenues. Over the course of the second half of 2023, we will ramp
            production volumes at a measured pace to ensure the supplier base can delivery
15          high-quality components in line with our serial production run-rate.
16
            During the six month period ended June 30, 2023, the Company delivered 11
17          vehicles and recognized net revenue of $712 thousand with related cost of
18          revenues totaling $665 thousand resulting in gross profit of $47 thousand.
            Gross profit from vehicle sales is lower due to discounts on vehicles sold to
19          certain investors who held rights to a free SUV based on Fisker’s based trim
20          level. The Company ad no vehicle sales during the corresponding six month
            period ended June 30, 2022.
21
            77.   The 2Q2023 10-Q also reported the following inventory as of June 30, 2023,
22
      in thousands:
23
24
25
26
27
28
                                                   24
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 1
 2
 3
 4
 5
 6
 7
 8
 9
            78.    In addition, the 2Q2023 10-Q reported 33,891,845 convertible senor notes and
10
      36,936,742 stock options and warrants which were excluded from the computation of
11
      diluted net loss per share of common stock as of June 30, 2023.
12
            79.    The statements in paragraphs 74-78 above were materially false and/or
13
      misleading and failed to disclose material adverse facts about the Company’s business,
14
      operations, and prospects. Specifically, Defendants failed to disclose, inter alia, that: (1)
15
      the Company had a material weakness in its internal control over financial reporting; (2) the
16
      Company had incorrectly accounted for certain costs; (3) due to the foregoing, Fisker was
17
      likely to delay filing its quarterly report; (4) the Company’s infrastructure was limiting its
18
      ability to deliver its production; and (5) the Company failed to maintain internal controls.
19
      As a result of the foregoing, Defendants’ positive statements about the Company’s business,
20
      operations, and prospects were materially misleading and/or lacked a reasonable basis at all
21
      relevant times.
22
                                           The Truth Emerges
23
            80.    The truth began to emerge on November 8, 2023 when, before the market
24
      opened, Fisker announced that it would not be able to timely complete its financial
25
      statements due to the departure of its CAO and the subsequent appointment of a new CAO.
26
      The Company stated that it “expects to file its Form 10-Q by November 14, 2023.” Prior to
27
      November 8, 2023, the Company had revealed that its former CAO, Defendant Finnucan,
28
                                                   25
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 1
      provided notice of his intent to resign on September 19, 2023, effective October 27, 2023.
 2
      Beuting was then hired, effective as of November 6, 2023, as Fisker’s new CAO.
 3
            81.    On this news, the Company’s stock price fell $0.38, or 8.7%, from a closing
 4
      price of $4.37 per share on November 7, 2023 to close at $3.99 per share on November 8,
 5
      2023, on unusually high trading volume.
 6
            82.    Less than a week later, after the market closed on November 13, 2023, the
 7
      Company published its financial results for the third quarter of 2023, wherein the Company
 8
      reported: (1) a loss of $91.0 million and $0.27 loss per share; (2) $78.02 million in selling,
 9
      general and administrative operating costs and expenses; and (3) $9.42 million for research
10
      and development. Thus, in total, the Company reported $87.44 million for total operating
11
      costs and expenses for the three months ended September 30, 2023. Moreover, Fisker cut
12
      its production forecast for the year, explaining that, although 4,725 Oceans were built during
13
      the third quarter, only 1,097 were delivered to customers.
14
15          83.    Additionally, Fisker announced that it would be unable to timely file the
16    Company’s quarterly report on Form 10-Q with the SEC for the quarter ended September
17    30, 2023. Fisker revealed that, in preparing its results, it had determined “it has material
18    weaknesses” in “internal control over financial reporting.” The Company also filed a Form
19    NT-10-Q, which stated the following:
20          As previously disclosed, the timing of the appointment of a new chief
21          accounting officer effective November 6, 2023 and the departure of the former
            chief accounting officer effective October 27, 2023 delayed the completion of
22          the Company's financial statements and related disclosures, and delayed the
23          completion of the Company's quarterly assessment of the effectiveness of its
            disclosure controls and procedures.
24
25          In the course of completing the preparation of the Report, the Company
            determined that it has material weaknesses in the Company’s internal control
26          over financial reporting. These material weaknesses will be discussed in the
27          Report.

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 1
            84.    The same day, Fisker hosted an earnings call with analysts and investors.
 2
      During the call, Defendants revealed that the delay in reporting was caused by Fisker having
 3
      a “highly complex quarter” including “very complex accounting along with convertible
 4
      notes and accounting for derivative” and “things like raw material inventory accounting and
 5
      finished goods inventory accounting[.]” Fisker further disclosed that “delivery and the
 6
      service infrastructure” was limiting deliveries and that, as a result, Fisker was “in the
 7
      process of dramatically overhauling our service and delivery infrastructure.” On the call,
 8
      Defendant Gupta-Fisker stated the following, in relevant part:
 9
            Went from $800,000 of revenue to $71 million of revenue. In multiple
10          countries, For ex., very complex accounting along with convertible notes and
11          accounting for derivatives. So we experienced quite a lot of complexity in the
            business, and as you rightly pointed out, personnel changes as well. We, of
12          course, continue to understand all these different areas. We are continuing to
13          hire. . . . Some other areas that were extremely complex were because of
            contract manufacturing, things like raw material inventory accounting and
14          finished goods inventory accounting, things that we had not done before and
15          extremely complex as you look at IT integrations with Magna, in-house
            integrations. So these unfortunately growing pains and we are addressing all
16
            these different areas so we can also mature our systems, hire more people, hire
17          more talent to address all these different areas, and it's a work in progress. We
            are working tirelessly, very hard to get the queue done, so more to come on
18
            that.
19                                                 ***
            Neither our production nor demand are limiting our deliveries, but rather
20
            it's the delivery and the service infrastructure. We have a great product and
21          our customers want the product. We are in the process of dramatically
            overhauling our service and delivery infrastructure to keep up with the demand
22
            until the delivery process has reached our goal, which we expect later this year.
23          85.    On this news, the Company’s share price fell $0.77, or 18.7%, from a closing
24    price of $4.11 per share on November 13, 2023 to close at $3.34 per share on November
25    14, 2023, on unusually heavy trading volume.
26          86.    The truth fully emerged on November 20, 2023 when, after the market closed,
27    Fisker revealed to the investing public that recently-appointed CAO Beuting had provided
28
                                                   27
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 1
      the Company with notice of his intent to resign from the Company on November 14, 2023—
 2
      a mere 8 days after his appointment—effective immediately.
 3
            87.    On this news, the Company’s share price fell $0.35, or 15%, from a closing
 4
      price of $2.35 per share on November 20, 2023 to close at $2.00 per share on November
 5
      21, 2023, on remarkably heavy trading volume.
 6
            88.    Later, on November 22, 2023, the Company filed its Form 10-Q quarterly
 7
      report with the SEC for the period ended September 30, 2023, which revealed that Fisker
 8
      had “identified approximately $20 million of expenses” which were “incorrectly recorded
 9
      primarily as selling, general and administrative expenses in our preliminary earnings results,
10
      but were later determined to be associated with production set-up activities” and that “other
11
      inventory adjustments were recorded resulting in a $4.0 million increase in net loss
12
      subsequent to the preliminary earnings results.” Fisker therefore reported a net loss of
13
      $95.22 million and – loss per share for the three months ended September 30, 2023 and a
14
      net loss of $298.38 million for the nine months ended September 30, 2023. Moreover, Fisker
15
      also reported $67.65 million in selling, general and administrative operating costs and
16
      expenses, as well as $13.42 million for research and development, totaling $71.08 million
17
      for total operating costs and expenses for the three months ended September 30, 2023.
18
                                          DAMAGES TO FISKER
19
            89.    As a direct and proximate result of the Individual Defendants’ conduct, Fisker
20
      will lose and expend many millions of dollars.
21
            90.    Such expenditures include, but are not limited to, legal fees, costs, and any
22
      payments for resolution of or to satisfy a judgment associated with the Securities Class
23
      Action, and amounts paid to outside lawyers, accountants, and investigators in connection
24
      thereto.
25
            91.    Such expenditures also include, but are not limited to, fees, costs, and any
26
      payments for resolution of or to satisfy judgements associated with any other lawsuits filed
27
      against the Company or the Individual Defendants based on the misconduct alleged herein,
28
                                                   28
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 1
      and amounts paid to outside lawyers, accountants, and investigators in connection thereto.
 2
            92.    Such expenditures also include, but are not limited to, amounts paid to outside
 3
      lawyers, accountants, and investigators in connection thereto, and losses of revenues caused
 4
      by customers’ loss of trust in the Company’s business and products.
 5
            93.    Such expenditures will also include costs incurred in any internal
 6
      investigations pertaining to violations of law, costs incurred in defending any investigations
 7
      or legal actions taken against the Company due to its violations of law, and payments of any
 8
      fines or settlement amounts associated with the Company’s violations.
 9
            94.    As a direct and proximate result of the Individual Defendants’ conduct, Fisker
10
      has also suffered and will continue to suffer a loss of reputation and goodwill, and a “liar’s
11
      discount” that will plague the Company’s stock in the future due to the Company’s and their
12
      misrepresentations.
13
                                   DERIVATIVE ALLEGATIONS
14
            95.    Plaintiff brings this action derivatively and for the benefit of Fisker to redress
15
      injuries suffered, and to be suffered, as a result of the Individual Defendants’ breaches of
16
      their fiduciary duties as directors and/or officers of Fisker, unjust enrichment, abuse of
17
      control, gross mismanagement, waste of corporate assets, violations of Section 14(a) of the
18
      Exchange Act, as well as for contribution under section 10(b) and 21D of the Exchange Act
19
      against Defendants H. Fisker, Gupta-Fisker, and Finnucan.
20
            96.    Fisker is named solely as a nominal party in this action. This is not a collusive
21
      action to confer jurisdiction on this Court that it would not otherwise have.
22
            97.    Plaintiff is, and has been at all relevant times, a shareholder of Fisker. Plaintiff
23
      will adequately and fairly represent the interests of Fisker in enforcing and prosecuting its
24
      rights, and, to that end, has retained competent counsel, experienced in derivative litigation,
25
      to enforce and prosecute this action.
26
                               DEMAND FUTILITY ALLEGATIONS
27
            98.    Plaintiff incorporates by reference and realleges each and every allegation
28
                                                    29
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 1
      stated above as if fully set forth herein.
 2
            99.    A pre-suit demand on the Board is futile and, therefore, excused. When this
 3
      action was filed, Fisker’s Board consisted of the following eight individuals: Defendants H.
 4
      Fisker, Gupta-Fisker, Greuel, Hickson, McDermott, Randall, Watt, and Zuklie (the
 5
      “Director-Defendants”). Plaintiff needs only to allege demand futility as to five of the eight
 6
      Director-Defendants that were on the Board at the time this action was filed.
 7
            100. Demand is excused as to all of the Director-Defendants because each one of
 8
      them faces, individually and collectively, a substantial likelihood of liability as a result of
 9
      the scheme they engaged in knowingly or recklessly to make and/or cause the Company to
10
      make false and misleading statements and omissions of material fact. This renders the
11
      Director Defendants unable to impartially investigate the charges and decide whether to
12
      pursue action against themselves and the other perpetrators of the scheme.
13
            101. Moreover, each of the Director-Defendants solicited the 2023 Proxy Statement
14
      which was false and misleading in violation of Section 14(a) of the Exchange Act.
15
      Therefore, demand upon them is futile and further excused.
16
            102. In complete abdication of their fiduciary duties, the Director-Defendants either
17
      knowingly or recklessly caused or permitted Fisker to make the materially false and
18
      misleading statements alleged herein. Specifically, the Director-Defendants knowingly or
19
      recklessly made material misrepresentations and/or omissions for the purpose and effect of
20
      concealing Fisker’s financial well-being and prospects from the investing public and
21
      supporting the artificially inflated price of Fisker’s securities. As a result of the foregoing,
22
      demand would be futile, and thus excused, as to all of the Director-Defendants, since they
23
      all breached their fiduciary duties, face a substantial likelihood of liability, and are not
24
      disinterested.
25
            103. Additional reasons that demand as to Defendant H. Fisker is futile follow.
26
      Defendant H. Fisker is Fisker’s Co-founder, CEO, and Chairman of its Board and is a
27
      controlling shareholder of Fisker. Thus, as the Company admits, he is a non-independent
28
                                                    30
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 1
      director. The Company provides H. Fisker with significant compensation for his positions
 2
      at the Company as detailed above. As CEO, Defendant H. Fisker was ultimately responsible
 3
      for all of the false and misleading statements and omissions that were made during the
 4
      Relevant Period. As the Company’s highest officer and as the trusted Board Chairman, he
 5
      conducted little, if any, oversight of the scheme to cause the Company to make false and
 6
      misleading statements, consciously disregarded his duties to monitor internal controls over
 7
      reporting and engagement in the scheme, and consciously disregarded his duties to protect
 8
      corporate assets. Furthermore, Defendant H. Fisker is a defendant in the Securities Class
 9
      Action. As a result, Defendant H. Fisker breached his fiduciary duties, faced a substantial
10
      likelihood of liability, and is not independent or disinterested. Thus, demand upon
11
      Defendant H. Fisker is futile and excused.
12
            104. Additional reasons that demand as to Defendant Gupta-Fisker is futile follow.
13
      Defendant Gupta-Fisker is Fisker’s Co-founder, COO, CFO, and Company director, and a
14
      controlling shareholder of Fisker. The Company provides Defendant Gupta-Fisker with
15
      significant compensation for her roles at the Company as detailed above. As COO, CFO,
16
      and a trusted Company director, Defendant Gupta-Fisker conducted little, if any, oversight
17
      of the scheme to cause Fisker to make false and misleading statements, consciously
18
      disregarded her duties to monitor such controls over reporting and engagement in the
19
      scheme, and consciously disregarded her duties to protect corporate assets. Furthermore,
20
      Defendant Gupta-Fisker is a defendant in the Securities Class Action. As a result, Defendant
21
      Gupta-Fisker breached her fiduciary duties, faces a substantial likelihood of liability, and is
22
      not independent or disinterested. Thus, demand upon Defendant Gupta-Fisker is futile and
23
      excused.
24
            105. Additional reasons that demand as to Defendant Greuel is futile follow.
25
      Defendant Greuel has served as Company director since June 2020. As a trusted Company
26
      director, Defendant Greuel conducted little, if any, oversight of the scheme to cause Fisker
27
      to make false and misleading statements, consciously disregarded her duties to monitor such
28
                                                    31
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 1
      controls over reporting and engagement in the scheme, and consciously disregarded her
 2
      duties to protect corporate assets. As a result, Defendant Greuel breached her fiduciary
 3
      duties, faces a substantial likelihood of liability, and is not independent or disinterested.
 4
      Thus, demand upon Defendant Greuel is futile and excused.
 5
            106. Additional reasons that demand as to Defendant Hickson is futile follow.
 6
      Defendant Hickson has served as Company director since July 2020. As a trusted Company
 7
      director, Defendant Hickson conducted little, if any, oversight of the scheme to cause Fisker
 8
      to make false and misleading statements, consciously disregarded his duties to monitor such
 9
      controls over reporting and engagement in the scheme, and consciously disregarded his
10
      duties to protect corporate assets. As a result, Defendant Hickson breached his fiduciary
11
      duties, faces a substantial likelihood of liability, and is not independent or disinterested.
12
      Thus, demand upon Defendant Hickson is futile and excused.
13
            107. Additional reasons that demand as to Defendant McDermott is futile follow.
14
      Defendant McDermott has served as Company director since October 2020. As a trusted
15
      Company director, Defendant McDermott conducted little, if any, oversight of the scheme
16
      to cause Fisker to make false and misleading statements, consciously disregarded his duties
17
      to monitor such controls over reporting and engagement in the scheme, and consciously
18
      disregarded his duties to protect corporate assets. As a result, Defendant McDermott
19
      breached his fiduciary duties, faces a substantial likelihood of liability, and is not
20
      independent or disinterested. Thus, demand upon Defendant McDermott is futile and
21
      excused.
22
            108. Additional reasons that demand as to Defendant Randall is futile follow.
23
      Defendant Randall has served as Company director since March 2020. As a trusted
24
      Company director, Defendant Randall conducted little, if any, oversight of the scheme to
25
      cause Fisker to make false and misleading statements, consciously disregarded his duties to
26
      monitor such controls over reporting and engagement in the scheme, and consciously
27
      disregarded his duties to protect corporate assets. As a result, Defendant Randall breached
28
                                                   32
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 1
      his fiduciary duties, faces a substantial likelihood of liability, and is not independent or
 2
      disinterested. Thus, demand upon Defendant Randall is futile and excused.
 3
            109. Additional reasons that demand as to Defendant Watt is futile follow.
 4
      Defendant Watt has served as Company director since June 2020. As a trusted Company
 5
      Director, Defendant Watt conducted little, if any, oversight of the scheme to cause Fisker
 6
      to make false and misleading statements, consciously disregarded her duties to monitor such
 7
      controls over reporting and engagement in the scheme, and consciously disregarded her
 8
      duties to protect corporate assets. As a result, Defendant Watt breached her fiduciary duties,
 9
      faces a substantial likelihood of liability, and is not independent or disinterested. Thus,
10
      demand upon Defendant Watt is futile and excused.
11
            110. Additional reasons that demand as to Defendant Zuklie is futile follow.
12
      Defendant Zuklie has served as Company director since March 2021. As a trusted Company
13
      director, Defendant Zuklie conducted little, if any, oversight of the scheme to cause Fisker
14
      to make false and misleading statements, consciously disregarded his duties to monitor such
15
      controls over reporting and engagement in the scheme, and consciously disregarded his
16
      duties to protect corporate assets. As a result, Defendant Zuklie breached his fiduciary
17
      duties, faces a substantial likelihood of liability, and is not independent or disinterested.
18
      Thus, demand upon Defendant Zuklie is futile and excused.
19
            111. Additional reasons that demand on the Board is futile follow.
20
            112. Defendants Greuel, Hickson, and McDermott served as members of Fisker’s
21
      Audit Committee during the Relevant Period. The Audit Committee Defendants violated
22
      the Audit Committee Charter by failing to adequately review and discuss Fisker’s Forms
23
      10-K and Forms 10-Q; failing to adequately exercise their risk management and risk
24
      assessment functions; and failing to ensure adequate Board oversight of Fisker’s internal
25
      control over financial reporting, disclosure controls and procedures, and Code of Conduct.
26
      Thus, the Audit Committee Defendants breached their fiduciary duties and are not
27
      disinterested. Therefore, demand is excused and futile as to the Audit Committee
28
                                                   33
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 1
      Defendants.
 2
            113. In violation of the Code of Conduct, the Director-Defendants engaged in or
 3
      permitted the scheme to cause the Company to issue materially false and misleading
 4
      statements to the investing public, and to facilitate and disguise the Individual Defendants’
 5
      violations of law, including breaches of fiduciary duty, unjust enrichment, abuse of control,
 6
      gross mismanagement, waste of corporate assets, and violations of the Exchange Act. In
 7
      addition, the Individual Defendants violated the Code of Conduct by failing to act with
 8
      integrity, failing to avoid conflicts of interest, failing to ensure the Company’s disclosures
 9
      were accurate, failing to ensure the Company complied with applicable laws, rules, and
10
      regulations, and failing to promptly report known violations of the Code of Conduct and the
11
      law. Thus, the Director-Defendants breached the Company’s own Code of Conduct, are not
12
      disinterested, and demand is excused as to them.
13
            114. Fisker has been and will continue to be exposed to significant losses due to the
14
      wrongdoing complained of herein, yet the Director-Defendants have not filed any lawsuits
15
      against themselves or any others who were responsible for the wrongful conduct to attempt
16
      to recover for Fisker any part of the damages Fisker suffered and will continue to suffer
17
      thereby. Thus, any demand upon the Director-Defendants would be futile.
18
            115. The Individual Defendants’ conduct described herein and summarized above
19
      could not have been the product of legitimate business judgment as it was based on bad faith
20
      and intentional, reckless, or disloyal misconduct. Thus, none of the Director-Defendants
21
      can claim exculpation from their violations of duty pursuant to the Company’s charter (to
22
      the extent such a provision exists). As a majority of the Director-Defendants face a
23
      substantial likelihood of liability, they are self-interested in the transactions challenged
24
      herein and cannot be presumed to be capable of exercising independent and disinterested
25
      judgment about whether to pursue this action on behalf of the shareholders of the Company.
26
      Accordingly, demand is excused as being futile.
27
            116. The acts complained of herein constitute violations of fiduciary duties owed
28
                                                   34
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 1
      by Fisker’s officers and directors, and these acts are incapable of ratification.
 2
             117. The Director-Defendants may also be protected against personal liability for
 3
      their acts of mismanagement and breaches of fiduciary duty alleged herein by directors’ and
 4
      officers’ liability insurance if they caused the Company to purchase it for their protection
 5
      with corporate funds, i.e., monies belonging to the stockholders of Fisker. If there is a
 6
      directors’ and officers’ liability insurance policy covering the Director-Defendants, it may
 7
      contain provisions that eliminate coverage for any action brought directly by the Company
 8
      against the Director-Defendants, known as, inter alia, the “insured-versus-insured
 9
      exclusion.” As a result, if the Director-Defendants were to sue themselves or certain of the
10
      officers of Fisker, there would be no directors’ and officers’ insurance protection.
11
      Accordingly, the Director-Defendants cannot be expected to bring such a suit. On the other
12
      hand, if the suit is brought derivatively, as this action is brought, such insurance coverage,
13
      if such an insurance policy exists, will provide a basis for the Company to effectuate a
14
      recovery. Thus, demand on the Director-Defendants is futile and, therefore, excused.
15
             118. If there is no directors’ and officers’ liability insurance, then the Director-
16
      Defendants will not cause Fisker to sue the Individual Defendants named herein, since, if
17
      they did, they would face a large uninsured individual liability. Accordingly, demand is
18
      futile in that event, as well.
19
             119. Thus, for all of the reasons set forth above, all of the Director-Defendants, and,
20
      if not all of them, at least four of them, cannot consider a demand with disinterestedness
21
      and independence. Consequently, a demand upon the Board is excused as futile.
22
                                       FIRST CLAIM
23      Against the Individual Defendants for Violations of Section 14(a) of the Exchange
                                              Act
24
             120. Plaintiff incorporates by reference and realleges each and every allegation set
25
      forth above, as though fully set forth herein.
26
             121. Section 14(a) of the Exchange Act, 15 U.S.C. § 78n(a)(1), provides that “[i]t
27
      shall be unlawful for any person, by use of the mails or by any means or instrumentality of
28
                                                       35
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 1
      interstate commerce or of any facility of a national securities exchange or otherwise, in
 2
      contravention of such rules and regulations as the [SEC] may prescribe as necessary or
 3
      appropriate in the public interest or for the protection of investors, to solicit or to permit the
 4
      use of his name to solicit any proxy or consent or authorization in respect of any security
 5
      (other than an exempted security) registered pursuant to section 12 of this title [15 U.S.C.
 6
      § 78l].”
 7
             122. Rule 14a-9, promulgated pursuant to § 14(a) of the Exchange Act, provides
 8
      that no proxy statement shall contain “any statement which, at the time and in the light of
 9
      the circumstances under which it is made, is false or misleading with respect to any material
10
      fact, or which omits to state any material fact necessary in order to make the statements
11
      therein not false or misleading.” 17 C.F.R. § 240.14a-9.
12
             123. The 2023 Proxy Statement failed to disclose that: (1) the Company had a
13
      material weakness in its internal control over financial reporting; (2) the Company had
14
      incorrectly accounted for certain costs; (3) due to the foregoing, Fisker was likely to delay
15
      filing its quarterly report; (4) the Company’s infrastructure was limiting its ability to deliver
16
      its production; and (5) the Company failed to maintain internal controls. As a result of the
17
      foregoing, Defendants’ positive statements about the Company’s business, operations, and
18
      prospects were materially misleading and/or lacked a reasonable basis at all relevant times.
19
             124. In the exercise of reasonable care, the Individual Defendants should have
20
      known that by misrepresenting or failing to disclose the foregoing material facts, the
21
      statements contained in the 2023 Proxy Statement were materially false and misleading.
22
      The misrepresentations and omissions were material to Plaintiff in voting on the matters set
23
      forth for shareholder determination in the 2023 Proxy Statement, including but not limited
24
      to, the election of directors.
25
             125. The Company was damaged as a result of the Individual Defendants’ material
26
      misrepresentations and omissions in the 2023 Proxy Statement.
27
             126. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
28
                                                     36
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 1                                      SECOND CLAIM
 2               Against the Individual Defendants for Breach of Fiduciary Duties
             127. Plaintiff incorporates by reference and realleges each and every allegation set
 3
      forth above, as though fully set forth herein.
 4
             128. Each Individual Defendant owed to the Company the duty to exercise candor,
 5
      good faith, and loyalty in the management and administration of Fiskers’s business and
 6
      affairs.
 7
             129. Each of the Individual Defendants violated and breached their fiduciary duties
 8
      of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.
 9
             130. The Individual Defendants’ conduct set forth herein was due to their
10
      intentional or reckless breach of the fiduciary duties they owed to the Company, as alleged
11
      herein. The Individual Defendants intentionally or recklessly breached or disregarded their
12
      fiduciary duties to protect the rights and interests of Fisker.
13
             131. In breach of their fiduciary duties owed to Fisker, the Individual Defendants
14
      willfully or recklessly made and/or caused the Company to make false and/or misleading
15
      statements and/or omissions of material fact that failed to disclose, inter alia, that: (1) the
16
      Company had a material weakness in its internal control over financial reporting; (2) the
17
      Company had incorrectly accounted for certain costs; (3) due to the foregoing, Fisker was
18
      likely to delay filing its quarterly report; (4) the Company’s infrastructure was limiting its
19
      ability to deliver its production; and (5) the Company failed to maintain internal controls.
20
      As a result of the foregoing, Defendants’ positive statements about the Company’s business,
21
      operations, and prospects were materially misleading and/or lacked a reasonable basis at all
22
      relevant times.
23
             132. In further breach of their fiduciary duties, the Individual Defendants failed to
24
      correct and/or caused the Company to fail to correct the false and/or misleading statements
25
      and/or omissions of material fact referenced herein, which renders them personally liable to
26
      the Company for breaching their fiduciary duties.
27
             133. Also, in breach of their fiduciary duties, the Individual Defendants caused the
28
                                                       37
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 1
      Company to fail to maintain internal controls.
 2
             134. The Individual Defendants had actual or constructive knowledge that the
 3
      Company issued materially false and misleading statements, and they failed to correct the
 4
      Company’s public statements and representations. The Individual Defendants had actual
 5
      knowledge of the misrepresentations and omissions of material facts set forth herein, or
 6
      acted with reckless disregard for the truth, in that they failed to ascertain and to disclose
 7
      such facts, even though such facts were available to them. Such material misrepresentations
 8
      and omissions were committed knowingly or recklessly and for the purpose and effect of
 9
      artificially inflating the price of Fisker’s securities.
10
             135. The Individual Defendants had actual or constructive knowledge that they had
11
      caused the Company to improperly engage in the fraudulent scheme set forth herein and to
12
      fail to maintain internal controls. The Individual Defendants had actual knowledge that the
13
      Company was engaging in the fraudulent scheme set forth herein, and that internal controls
14
      were not adequately maintained, or acted with reckless disregard for the truth, in that they
15
      caused the Company to improperly engage in the fraudulent scheme and to fail to maintain
16
      adequate internal controls, even though such facts were available to them. Such improper
17
      conduct was committed knowingly or recklessly and for the purpose and effect of artificially
18
      inflating the price of Fisker’s securities. The Individual Defendants, in good faith, should
19
      have taken appropriate action to correct the scheme alleged herein and to prevent it from
20
      continuing to occur.
21
             136. These actions were not a good-faith exercise of prudent business judgment to
22
      protect and promote the Company’s corporate interests.
23
             137. As a direct and proximate result of the Individual Defendants’ breaches of their
24
      fiduciary obligations, Fisker has sustained and continues to sustain significant damages. As
25
      a result of the misconduct alleged herein, the Individual Defendants are liable to the
26
      Company.
27
             138. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
28
                                                      38
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 1                                          THIRD CLAIM
 2                        Against Individual Defendants for Unjust Enrichment

 3          139. Plaintiff incorporates by reference and realleges each and every allegation set
 4    forth above, as though fully set forth herein.
 5          140. By their wrongful acts, violations of law, and false and misleading statements
 6    and omissions of material fact that they made and/or caused to be made, the Individual
 7    Defendants were unjustly enriched at the expense of, and to the detriment of, Fisker.
 8          141. The Individual Defendants either benefitted financially from the improper
 9    conduct, or received bonuses, stock options, or similar compensation from Fisker that was
10    tied to the performance or artificially inflated valuation of Fisker, or received compensation
11    or other payments that were unjust in light of the Individual Defendants’ bad faith conduct.
12    This includes lavish compensation, benefits, and other payments provided to the Individual
13    Defendants who breached their fiduciary duties to the Company.
14          142. Plaintiff, as a shareholder and a representative of Fisker, seeks restitution from
15    the Individual Defendants and seeks an order from this Court disgorging all profits,
16    including from insider transactions, the redemption of preferred stock, benefits, and other
17    compensation, including any performance-based or valuation-based compensation,
18    obtained by the Individual Defendants due to their wrongful conduct and breach of their
19    fiduciary and contractual duties.
20          143. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
21                                      FOURTH CLAIM
22                      Against Individual Defendants for Abuse of Control
23          144. Plaintiff incorporates by reference and realleges each and every allegation set
24    forth above, as though fully set forth herein.
25          145. The Individual Defendants’ misconduct alleged herein constituted an abuse of
26    their ability to control and influence Fisker, for which they are legally responsible.
27          146. As a direct and proximate result of the Individual Defendants’ abuse of control,
28
                                                       39
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 1
      Fisker has sustained significant damages. As a result of the misconduct alleged herein, the
 2
      Individual Defendants are liable to the Company.
 3
            147. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
 4
                                         FIFTH CLAIM
 5
                     Against Individual Defendants for Gross Mismanagement
 6
            148. Plaintiff incorporates by reference and realleges each and every allegation set
 7
      forth above, as though fully set forth herein.
 8
            149. By their actions alleged herein, the Individual Defendants, either directly or
 9
      through aiding and abetting, abandoned and abdicated their responsibilities and fiduciary
10
      duties with regard to prudently managing the assets and business of Fisker in a manner
11
      consistent with the operations of a publicly held corporation.
12
            150. As a direct and proximate result of the Individual Defendants’ gross
13
      mismanagement and breaches of duty alleged herein, Fisker has sustained and will continue
14
      to sustain significant damages.
15
            151. As a result of the misconduct and breaches of duty alleged herein, the
16
      Individual Defendants are liable to the Company.
17
            152. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
18
19                                       SIXTH CLAIM
                   Against Individual Defendants for Waste of Corporate Assets
20
            153. Plaintiff incorporates by reference and re-alleges each and every allegation set
21
      forth above, as though fully set forth herein.
22
            154. The Individual Defendants caused the Company to pay the Individual
23
      Defendants excessive salaries and fees, to the detriment of the shareholders and the
24
      Company.
25
            155. As a result of the foregoing, and by failing to properly consider the interests of
26
      the Company and its public shareholders, the Individual Defendants have caused Fisker to
27
      waste valuable corporate assets, to incur many millions of dollars of legal liability and/or
28
                                                       40
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 1
      costs to defend unlawful actions, to engage in internal investigations, and to lose financing
 2
      from investors and business from future customers who no longer trust the Company and
 3
      its products.
 4
            156. As a result of the waste of corporate assets, the Individual Defendants are each
 5
      liable to the Company.
 6
            157. Plaintiff, on behalf of Fisker, has no adequate remedy at law.
 7
                                     SEVENTH CLAIM
 8
      Against Defendants H. Fisker, Gupta-Fisker, and Finnucan for Contribution Under
 9                       Sections 10(b) and 21D of the Exchange Act
10          158. Plaintiff incorporates by reference and re-alleges each and every allegation set
11    forth above, as though fully set forth herein.
12          159. Fisker and Defendants H. Fisker, Gupta-Fisker, and Finnucan are named as
13    defendants in the Securities Class Action, which asserts claims under the federal securities
14    laws for violations of Sections 10(b) and 20(a) of the Exchange Act, and SEC Rule 10b-5
15    promulgated thereunder. If and when the Company is found liable in the Securities Class
16    Action for these violations of the federal securities laws, the Company’s liability will be in
17    whole or in part due to Defendant H. Fisker’s, Defendant Gupta-Fisker’s, and Defendant
18    Finnucan’s willful and/or reckless violations of their obligations as officers and/or directors
19    of the Company.
20          160. Defendants H. Fisker, Gupta-Fisker and Finnucan, because of their positions
21    of control and authority as officers and/or directors of the Company, were able to and did,
22    directly and/or indirectly, exercise control over the business and corporate affairs of the
23    Company, including the wrongful acts complained of herein and in the Securities Class
24    Action.
25          161. Accordingly, Defendants H. Fisker, Gupta-Fisker, and Finnucan are liable
26    under 15 U.S.C. § 78j(b), which creates a private right of action for contribution, and
27    Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a
28    private right of action for contribution arising out of violations of the Exchange Act.
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 1
            162. As such, Fisker is entitled to receive all appropriate contribution or
 2
      indemnification from Defendants H. Fisker, Gupta-Fisker, and Finnucan.
 3
                                        PRAYER FOR RELIEF
 4
 5          FOR THESE REASONS, Plaintiff demands judgment in the Company’s favor
 6    against all Individual Defendants as follows:
 7                 (a)     Declaring that Plaintiff may maintain this action on behalf of Fisker, and
 8    that Plaintiff is an adequate representative of the Company;
 9                 (b)     Declaring that the Individual Defendants have breached and/or aided
10    and abetted the breach of their fiduciary duties to Fisker;
11                 (c)     Determining and awarding to Fisker the damages sustained by it as a
12    result of the violations set forth above from each of the Individual Defendants, jointly and
13    severally, together with pre-judgment and post-judgment interest thereon;
14                 (d)     Directing Fisker and the Individual Defendants to take all necessary
15    actions to reform and improve Fisker’s corporate governance and internal procedures to
16    comply with applicable laws and to protect Fisker and its shareholders from a repeat of the
17    damaging events described herein, including, but not limited to, putting forward for
18    shareholder vote the following resolutions for amendments to the Company’s Bylaws
19    and/or Certificate of Incorporation and the following actions as may be necessary to ensure
20    proper corporate governance policies:
21                       1. a proposal to strengthen the Board’s supervision of operations and
22              develop and implement procedures for greater shareholder input into the
23              policies and guidelines of the board;
24                       2. a provision to permit the shareholders of Fisker to nominate at least
25              four candidates for election to the Board;
26                       3. a proposal to ensure the establishment of effective oversight of
27              compliance with applicable laws, rules, and regulations;
28                 (e)     Awarding Fisker restitution from Individual Defendants, and each of
                                                     42
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 1
                them;
 2
                   (f)   Awarding Plaintiff the costs and disbursements of this action, including
 3
      reasonable attorneys’ and experts’ fees, costs, and expenses; and
 4
                   (g)   Granting such other and further relief as the Court may deem just and
 5
      proper.
 6
                                    JURY TRIAL DEMANDED
 7
      Plaintiff hereby demands a trial by jury.
 8
 9
         Dated: December 21, 2023                 Respectfully submitted,
10
                                                  THE BROWN LAW FIRM, P.C.
11
12                                                /s/Robert C. Moest                    .
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                                                  Counsel for Plaintiff
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                                                        VERIFICATION

                    I, Laurie A. Hanna, am a plaintiff in the within action. I have reviewed the allegations
            made in this Shareholder Derivative Complaint, know the contents thereof, and authorize its filing.
            To those allegations of which I have personal knowledge, I believe those allegations to be true. As
            to those allegations of which I do not have personal knowledge, I rely upon my counsel and their
            investigation and believe them to be true.

                     I declare under penalty of perjury that the foregoing is true and correct. Executed this
            __ day of December, 2023.
            21




                                              ______________________
                                              Laurie A. Hanna
